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                                    IN THE UNITED STATES DISTRICT COURT
10                                      FOR THE DISTRICT OF MONTANA
                                               BUTTE DIVISION
11
12
13   JACOB RHODES,
14                          Plaintiff,                             No. CV 21-32-BU-BMM
15
                            vs.
16                                                                 STIPULATION FOR
                                                                   VOLUNTARY DISMISSAL
17   RESSLER MOTOR COMPANY,                                        WITH PREJUDICE
18                          Defendant.
19
20              IT IS HEREBY STIPULATED by and between the parties hereto, through
21   their respective counsel, that the above-entitled action be dismissed with
22   prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), as fully settled on the merits,
23   each party to pay their own costs and fees.
24              A proposed order of dismissal with prejudice is being submitted herewith.
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 1                                                        DATED this 23d day of February, 2022
 2
 3                                                              /s/ Philip A. Hohenlohe
                                                          By:
 4                                                              PHILIP A. HOHENLOHE
                                                                Attorney for Plaintiff
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 6
 7
 8                                                              /s/ William J. Mattix
                                                          By:
 9                                                              WILLIAM J. MATTIX
                                                                Attorney for Defendant
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